        Case 1:23-cr-00032-TNM Document 13-1 Filed 02/21/23 Page 1 of 1



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                                              BUREAU of VITAL STATISTICS



                                           CERTIFICATION OF BIRTH
 STATE FILE NUMBER: 109-1974-057050                                        DATE ISSUED: JULY 19, 2022
                                                                           DATE FILED: JULY 29, 1974


CHILD'S NAME:                                   VICTOR SEAN DENNISON




DATE OF BIRTH:




SEX:                                            MALE




COUNTY OF BIRTH                                               ?COUNTY




MOTHER'S NAME:                                   WEND! GAYLE H LLE
(NAME PRIOR TO FIRST 4                     R AGE, IF APPLICAB




 FATI-1ER'SNAMI                                   WALTER LEROY DENNISON




                                            , STATE REGISTRAR
                                                                                                                      REQ: 20241'-)1575

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